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                              IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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       DAWN MARIE KORTER, as an individual and as
10     Personal Representative for the ESTATE OF SAID           NO.
       JOQUIN and DEATURA EVERLYN-JEAN
11     JOQUIN;                                                  NOTICE OF REMOVAL

                                  Plaintiffs,                   [FROM PIERCE COUNTY
12                                                              SUPERIOR COURT CAUSE NO.
       vs.                                                      21-2-06510-6]
13
       CITY OF LAKEWOOD, a political subdivision of
14     the State of Washington d/b/a Lakewood Police
       Department, MICHAEL WILEY, an individual; and
15     MICHAEL ZARO, an individual,
16                                Defendants.
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             COMES NOW Defendants by and through their undersigned attorney of record, and hereby
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     request that this matter be removed to Federal District Court.
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             A.     BASIS FOR REMOVAL
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21           The basis for removal to Federal District Court is 28 U.S.C. § 1441(a), pursuant to procedures set

22   forth at 28 U.S.C. § 1446.

23           This matter is subject to removal because plaintiffs alleged, in their First Amended Complaint inter
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     alia, that the defendants violated plaintiffs’ rights secured by the Constitution and/or laws of the United
25
     States. Specifically, plaintiffs’ First Amended Complaint alleges violations of plaintiff’s civil rights,
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       NOTICE OF REMOVAL– 1                                                     LAW, LYMAN, DANIEL,
       Cause No.:                                                           KAMERRER & BOGDANOVICH, P.S.
                                                                                             ATTORNEYS AT LAW
                                                                               2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                             P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                                     (360) 754-3480 FAX: (360) 357-3511
 1   specifically the 4th Amendment to the U.S. Constitution brought pursuant to 42 U.S.C. § 1983. To the
 2   extent plaintiffs’ Complaint alleges civil rights claims arising under the Constitution and laws of the
 3
     United States, this Court has original jurisdiction of this civil action pursuant to 28 U.S.C. § 1331. This
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     Court has supplemental jurisdiction over any claims or causes of action asserted or intended in the First
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     Amended Complaint under the laws of the State of Washington pursuant to 28 U.S. C. § 1367, which may
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 7   be removed and determined by this Court pursuant to 28 U.S.C. § 1441(c).

 8          Plaintiffs’ Summons and First Amended Complaint were filed in Pierce County Superior Court on

 9   August 31, 2022. Defendants were served with the First Amended Complaint on August 31, 2022. Copies
10   of all pleadings are listed in and attached to the Declaration of John E. Justice, which will be filed with
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     this Notice of Removal.
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            B.      INTRADISTRICT ASSIGNMENT
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            This matter is removed from Pierce County Superior Court. The defendants are situated in
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15   Pierce County, Washington and the claim arose there. It is appropriate to assign this matter to the

16   Tacoma Division of the Western District of Washington pursuant to LCR 3(e)(1).

17          Dated this 1st day of September, 2022.
18                                                        LAW, LYMAN, DANIEL, KAMERRER
                                                          & BOGDANOVICH, P.S.
19
                                                          /s/ John E. Justice
20
                                                          John E. Justice, WSBA No. 23042
21                                                        Attorney for Defendants
                                                          P.O. Box 11880, Olympia, WA 98508
22                                                        Phone: (360) 754-3480 Fax: 360-754-3480
                                                          Email: jjustice@lldkb.com
23

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       NOTICE OF REMOVAL– 2                                                     LAW, LYMAN, DANIEL,
       Cause No.:                                                           KAMERRER & BOGDANOVICH, P.S.
                                                                                            ATTORNEYS AT LAW
                                                                              2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                            P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                                    (360) 754-3480 FAX: (360) 357-3511
 1                                 CERTIFICATE OF FILING AND SERVICE
 2          I hereby certify under penalty of perjury under the laws of the State of Washington that on this
 3
     date, I caused to be electronically filed the foregoing document, and served a copy of this filing to the
 4
     following party via e-mail:
 5
     Plaintiffs’ Attorneys:
 6

 7   John Connelly, Jr.
     Meaghan Driscoll
 8   Samuel Daheim
     CONNELLY LAW OFFICES, PLLC
 9   2301 North 30th Street
     Tacoma, WA 98403
10

11          DATED this 1st day of September, 2022, at Tumwater, WA.

12                                                          /s/ Tam Truong
                                                            ____________________________
13                                                          Tam Truong, Legal Assistant
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       NOTICE OF REMOVAL– 3                                                        LAW, LYMAN, DANIEL,
       Cause No.:                                                              KAMERRER & BOGDANOVICH, P.S.
                                                                                               ATTORNEYS AT LAW
                                                                                 2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                               P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
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